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                                                           June 26, 2022

Honorable Alison J. Nathan
Sitting By Designation
United States District Court
40 Foley Square
New York, NY 10007
                               Re: United States v. Ghislaine Maxwell
                                          S2 20 Cr. 330 (AJN)
Dear Judge Nathan:

       In connection with the upcoming sentencing proceeding and supplementing Ms.

Maxwell’s Sentencing Memorandum (Dkt. 663) as Exhibit K, enclosed please find a letter from

an MDC inmate in general population expressing her positive impressions of Ms. Maxwell.

                                                           Very truly yours,

                                                           /s/

                                                           BOBBI C. STERNHEIM

Enc.

cc: Counsel of Record
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                     EXHIBIT K
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